AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                                                        (For Revocation of Probation or Supervised Release)
         V.                                                             (For Offenses Committed On or After November 1, 1987)


Michael Anthony Polk                                                    Case Num ber: DNCW 300CR000127-002
                                                                        USM Num ber:

                                                                        Em ily Marroquin
                                                                        Defendant’s Attorney


THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 3 of the term of supervision.
         W as found in violation of condition(s) count(s)           After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                               Date Violation
 Violation Num ber               Nature of Violation                                           Concluded

 3                               New Law Violation                                             1/28/09



       The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        The Defendant has not violated condition(s) 1 & 2 and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                        Date of Im position of Sentence: 4/29/09

                                                                            Signed: May 19, 2009




                  Case 3:00-cr-00127-RJC                 Document 99          Filed 05/19/09       Page 1 of 5
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation



Defendant: Michael Anthony Polk                                                                       Judgm ent-Page 2 of 5
Case Num ber: DNCW 300CR000127-002

                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of FOUR (4) MONTHS.




 X       The Court m akes the following recom m endations to the Bureau of Prisons:

         That the Defendant be designated as close to Charlotte, NC as possible.
         That the Defendant continue to receive substance abuse treatm ent during his period of incarceration.

         The Defendant is rem anded to the custody of the United States Marshal.

X        The Defendant shall surrender to the United States Marshal for this District:

                   X       as notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




                  Case 3:00-cr-00127-RJC                    Document 99      Filed 05/19/09         Page 2 of 5
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


Defendant: Michael Anthony Polk                                                                                                 Judgm ent-Page 3 of 5
Case Num ber: DNCW 300CR000127-002

                                                              SUPERVISED RELEASE

           Upon release from im prisonm ent, the defendant shall be on supervised release for a term of TW ENTY-ONE (21)
m onths.

           The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant
           poses a low risk of future substance abuse.

                                                STANDARD CONDITIONS OF SUPERVISION

           The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.         The defendant shall not commit another federal, state, or local crime.
2.         The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.         The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of
           probation or the term of supervised release on a schedule to be established by the court.
4.         The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.         The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.         The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.         The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and
           complete written report within the first five days of each month.
8.         A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours
           of release from custody of the Bureau of Prisons.
 9.        The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.        The defendant shall support his or her dependents and meet other family responsibilities.
11.        The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities
           authorized by the probation officer.
12.        The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.        The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any
           narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.        The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer,
           until such time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a
           drug test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled
           substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respectively.
15.        The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.        The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
           unless granted permission to do so by the probation officer.
17.        The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer
           and such other law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a
           search may be grounds for revocation of probation or supervised release. The defendant shall warn other residents or occupants that such
           premises or vehicle may be subject to searches pursuant to this condition.
18.        The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed by the probation officer.
19.        The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.        The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the Court.
21.        As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
           or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s
           compliance with such notification requirement.
22.        If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in
           defendant’s economic circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.        If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the
           electronic monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:


25.        The Defendant shall further comply with all of the conditions of supervised release that was previously imposed upon the defendant.




                     Case 3:00-cr-00127-RJC                      Document 99               Filed 05/19/09             Page 3 of 5
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


Defendant: Michael Anthony Polk                                                                          Judgm ent-Page 4 of 5
Case Num ber: DNCW 300CR000127-002

                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


              ASSESSM ENT                                         FINE                             RESTITUTION

                   $0.00                                         $0.00                                  $0.00




                                                                  FINE


         The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options
on the Schedule of Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X                 The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:


X                 The interest requirem ent is waived.

                  The interest requirem ent is m odified as follows:


                                              COURT APPOINTED COUNSEL FEES

X                 The defendant shall pay court appointed counsel fees.

                  The defendant shall pay $                  Towards court appointed fees.




                  Case 3:00-cr-00127-RJC                    Document 99         Filed 05/19/09         Page 4 of 5
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


Defendant: Michael Anthony Polk                                                                                 Judgm ent-Page 5 of 5
Case Num ber: DNCW 300CR000127-002


                                                    SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         A                 Lum p sum paym ent of $                    Due im m ediately, balance due

                           Not later than            , or
                           In accordance          (C),        (D) below; or

         B         X       Paym ent to begin im m ediately (m ay be com bined with            (C),     X   (D) below); or

         C                 Paym ent in equal               (E.g. weekly, m onthly, quarterly) installm ents of $            To
                           com m ence               (E.g. 30 or 60 days) after the date of this judgm ent; or

         D         X       Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00   To
                           com m ence     60      (E.g. 30 or 60 days) after release from im prisonm ent to a term of
                           supervision. In the event the entire am ount of crim inal m onetary penalties im posed is not paid
                           prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue collection of
                           the am ount due, and m ay request the court to establish or m odify a paym ent schedule if
                           appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
         The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal
m onetary penalty paym ents are to be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210,
Charlotte, NC 28202, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility
Program . All criminal m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.




                  Case 3:00-cr-00127-RJC                    Document 99             Filed 05/19/09          Page 5 of 5
